Case 18-71513-jwc   Doc 23   Filed 03/11/19 Entered 03/11/19 12:40:23   Desc Main
                             Document     Page 1 of 11
Case 18-71513-jwc   Doc 23   Filed 03/11/19 Entered 03/11/19 12:40:23   Desc Main
                             Document     Page 2 of 11
Case 18-71513-jwc   Doc 23   Filed 03/11/19 Entered 03/11/19 12:40:23   Desc Main
                             Document     Page 3 of 11
Case 18-71513-jwc   Doc 23   Filed 03/11/19 Entered 03/11/19 12:40:23   Desc Main
                             Document     Page 4 of 11
Case 18-71513-jwc   Doc 23   Filed 03/11/19 Entered 03/11/19 12:40:23   Desc Main
                             Document     Page 5 of 11
Case 18-71513-jwc   Doc 23   Filed 03/11/19 Entered 03/11/19 12:40:23   Desc Main
                             Document     Page 6 of 11
Case 18-71513-jwc   Doc 23   Filed 03/11/19 Entered 03/11/19 12:40:23   Desc Main
                             Document     Page 7 of 11
Case 18-71513-jwc   Doc 23   Filed 03/11/19 Entered 03/11/19 12:40:23   Desc Main
                             Document     Page 8 of 11
Case 18-71513-jwc   Doc 23   Filed 03/11/19 Entered 03/11/19 12:40:23   Desc Main
                             Document     Page 9 of 11
Case 18-71513-jwc   Doc 23    Filed 03/11/19 Entered 03/11/19 12:40:23   Desc Main
                             Document      Page 10 of 11
Case 18-71513-jwc   Doc 23    Filed 03/11/19 Entered 03/11/19 12:40:23   Desc Main
                             Document      Page 11 of 11
